Case 6:21-cv-00672-ADA   Document 228-1   Filed 03/11/25   Page 1 of 2




                         EXHIBIT B
              Case 6:21-cv-00672-ADA       Document 228-1             Filed 03/11/25        Page 2 of 2


   Biographies



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                                  Eric Harmon is an intellectual property litigator who focuses on technology. As a
                                  Venable summer associate, Eric assisted in patent litigation matters involving Voice
                                  over Internet Protocol (VoIP) digital communication technology, researched
                                  California data privacy legislation, and drafted memoranda related to potential safe
                                  harbors for online marketplaces under the Digital Millennium Copyright Act
                                  (DMCA) and Communications Decency Act (CDA) legislation.

                                  During law school, Eric gained valuable experience as a patent extern in the U.S.
                                  Patent and Trademark Office (USPTO). There, he worked alongside supervisory
                                  patent examiners to plan and conduct searches for examinations of patent
                                  applications under review. He also drafted legal and technical office actions
                                  detailing statutory rejections of patent applications and attended patent trial
                                  proceedings at the Patent Trial and Appeal Board (PTAB) and the Court of Appeals
                                  for the Federal Circuit.


                                  Credentials
                                  Education
                                      J.D., George Washington University Law School, 2021
                                       o   Staff editor, American Intellectual Property Law Association Quarterly
                                           Journal
                                       o   Member, Student Intellectual Property Law Association
                                       o   Recipient, George S. Hastings Intellectual Property Fund Scholarship
                                       o   Summer associate, Venable LLP, 2020
                                       o   Patent extern, U.S. Patent and Trademark Office, 2019

                                      B.S., Physics, University of Michigan at Ann Arbor, 2018
                                       o   Minor: Political Science
                                       o   Legislative intern, Michigan House of Representatives, 2017

                                  Bar Admissions
                                      District of Columbia




Venable LLP                                                                                                              1
